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                       7 Attorneys for Plaintiffs and the Class

                       8
                                                        UNITED STATES DISTRICT COURT
                       9
                                                       EASTERN DISTRICT OF CALIFORNIA
                      10
                                                                              * * *
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                           JULIAN SMOTHERS, ET AL.,                                   Case No. 2:17-CV-00548-KJM-KJN
                      12
                                         Plaintiffs,
                      13                                                              ORDER RE NOTICE OF
                                vs.                                                   PRELIMINARY APPROVAL OF
                      14
                                                                                      CLASS SETTLEMENT AND CLASS
                      15 NORTHSTAR ALARM SERVICES, LLC,                               NOTICE PLAN

                      16                                                              Courtroom: 3
                                         Defendant(s).                                Judge:     Hon. Kimberly J. Mueller
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                      22         WHEREAS, the Court having preliminarily approved the Amended Joint Stipulation of
                      23 Class Settlement, appointing Plaintiffs Julian Smothers and Asa Dhadda as Class Representatives

                      24 and appointing Plaintiffs’ Counsel as Class Counsel, and having reviewed and considered the

                      25 Parties’ amended notices and forms to effectuate the class notice plan (ECF No. 68), IT IS

                      26 HEREBY ORDERED as follows:

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 Sutton Hague
Law Corporation       28
5200 N. PALM AVENUE                                                              1
     SUITE 203
 FRESNO, CA 93704
                                 __________________________________________________________________________________________________
                                         ORDER APPROVING CLASS NOTICE FORMS AND CLASS NOTICE PLAN
                           Case 2:17-cv-00548-KJM-KJN Document 70 Filed 08/12/19 Page 2 of 3



                       1         1.      Plaintiffs’ proposed plan for class notice and settlement administration is the best
                       2 notice practicable under the circumstances and is in full compliance the requirements of the Fair

                       3 Labor Standards Act and Rule 23 of the Federal Rules of Civil Procedure, as applicable, and

                       4 comports with the requirements of due process. Plaintiffs’ amended class notice forms, submitted

                       5 to the Court in accordance with its July 12, 2019 Order (ECF No. 67), likewise comply with the

                       6 requirements of the Fair Labor Standards Act, Rule 23 of the Federal Rules of Civil Procedure,

                       7 and the requirements of due process, and are appropriate as part of the proposed plan for notice

                       8 to potential members of the Settlement Class.

                       9         2.      Phoenix Settlement Administrators (“Settlement Administrator”) is appointed to
                      10 administer this Settlement and to perform the duties set forth in the Parties’ Settlement. The

                      11 Settlement Administrator is directed to follow all procedures described in the Parties’ Settlement

                      12 concerning the means and method of providing notice to the class and conducting the notice

                      13 follow-up procedures set forth in the Settlement.

                      14         3.      Within seven (7) days after entry of this Order, Defendant shall provide to the
                      15 Settlement Administrator and Class Counsel a list of the Settlement Class Members containing

                      16 the names, social security numbers, last-known telephone numbers, last-known email addresses

                      17 and last-known physical addresses, and a list of amounts that could be claimed by each

                      18 Settlement Class Member.

                      19         4.      Within fourteen (14) days after the Settlement Administrator receives the
                      20 information described in paragraph 3, the Settlement Administrator shall send the Class Notice to

                      21 the Settlement Class Members via U.S. mail and, where possible, also via email. The Class

                      22 Notice to the potential FLSA Group includes a form that the potential FLSA Group Members

                      23 must timely submit with all requested information to affirmatively indicate their consent to

                      24 participate in the Settlement and to be bound by the terms set forth therein. The Class Notice to

                      25 the potential California Class includes a form that will be available for download from the class

                      26 website, which the California Class Members may use for the purpose of excluding themselves

                      27
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                           Case 2:17-cv-00548-KJM-KJN Document 70 Filed 08/12/19 Page 3 of 3



                       1 from the California Class, in addition to any other writing that the California Class Members

                       2 may use for that purpose.

                       3         5.      The FLSA Group Members and California Class Members may object to the
                       4 Settlement in accordance with the terms of the notices, which include submitting written

                       5 objections or making oral objections at the final fairness hearing.

                       6         6.      FLSA Group Members must indicate their intention to opt-in to the Settlement by
                       7 timely submitting a valid opt-in form postmarked no later than seventy-five (75) days from the

                       8 date upon which the Settlement Administrator issues the Class Notice.

                       9         7.      California Class Members must indicate their intention to exclude themselves
                      10 from the Settlement by timely submitting written notice postmarked no later than seventy-five

                      11 (75) days from the date upon which the Settlement Administrator issues the Class Notice.

                      12         8.      Plaintiffs shall file a Motion for Attorneys’ Fees and Costs and Motion for
                      13 Enhancement Award not later than fourteen (14) days prior to the deadline for Settlement Class

                      14 Members to object to the Settlement. At the final hearing, the Court will consider any written

                      15 objections and hear any oral objections to the fees, costs and incentive award requests, along

                      16 with any objections to the Settlement itself.

                      17         9.     The hearing for Plaintiffs’ Motion for Final Approval of Class Settlement is hereby
                      18 scheduled for December 6, 2019 at 10:00 a.m. in Courtroom 3.

                      19         IT IS SO ORDERED.
                      20 DATED: August 12, 2019.

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                      22                                                             UNITED STATES DISTRICT JUDGE

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                                         ORDER APPROVING CLASS NOTICE FORMS AND CLASS NOTICE PLAN
